       Case: 1:11-cv-00456 Document #: 1 Filed: 01/21/11 Page 1 of 12 PageID #:1




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

SANDRA ROSARIO,                      )
                                     )
                Plaintiff,           )
v.                                   )                     Judge
                                     )
CITY OF CHICAGO, RAFAEL              )
MAGALLON # 19170, ANGEILLY LOPEZ     )                     11 B CV - 456
#2768, JASON BALA #9112, WILLIAM     )
OBRIEN # 9564, ELAINE VABAKOS         )                    Jury Demanded
#11498, A. CASEY # 9541, W. CRAWFORD )
#10770, and UNKNOWN CHICAGO          )
POLICE OFFICERS,                     )
                                     )
                Defendants.          )

                                    COMPLAINT

         NOW COMES the Plaintiff, Sandra Rosario, by and through her

attorneys, Mark F. Smolens, Law Office of Mark F. Smolens, and Richard R.

Mottweiler, Michael C. Cannon, and Nicole Barkowski, Mottweiler & Associates,

and as her complaint against the defendants, states the following:

                                    Nature of Action

        1.   This action seeks damages under federal law, Title 42 U.S.C. ''1983

and 1988, for defendants= actions of August 11, 2010 which violated plaintiff=s

rights under the Fourth and Fourteenth Amendments to the United States

Constitution.    This action also seeks damages for claims arising under Illinois

law.
      Case: 1:11-cv-00456 Document #: 1 Filed: 01/21/11 Page 2 of 12 PageID #:1




                                  Jurisdiction and Venue

       2. The jurisdiction of this court is invoked pursuant to Title 28 U.S.C.

sections 1331 and 1343 and this Court=s supplemental and ancillary

jurisdiction under Title 28 U.S.C. Section 1367.        Venue in this district is

predicated upon Title 28 U.S.C. Section 1391(b) as all events giving rise to the

claims asserted herein took place within this Northern District of Illinois.



                                        Parties

       3. At all relevant times, the Plaintiff, Sandra Rosario, was a resident of

the   City of Chicago, County of Cook, State of Illinois, in this District, and

entitled to be free from unreasonable searches and seizures, excessive force,

and the malicious conduct of police officers employed by the municipal

defendant.

       4. The City of Chicago is a municipal corporation located in the State of

Illinois in this Judicial District.   At all relevant times, the City of Chicago was

the employer of defendants, Rafael Magallon # 19170, Angeilly Lopez

#2768, Jason Bala #9112, William O Brien # 9564, Elaine Vabakos #11498, A.

Casey # 9541, W. Crawford #10770, and other Unknown Chicago Police

Officers (Adefendant officers@ hereafter).      The defendant officers were at all

relevant times employed by the City of Chicago as duly appointed police




                                            2
     Case: 1:11-cv-00456 Document #: 1 Filed: 01/21/11 Page 3 of 12 PageID #:1




officers in the City of Chicago acting within the course and scope of their

employment and under color of law.

      5. All the events giving rise to the claims asserted herein occurred within

this Judicial District.



                                Common Allegations

      6.    At approximately 9:00 P.M. on August 11, 2010, plaintiff Sandra

Rosario was driving an automobile owned by her in the vicinity of Humboldt

Boulevard in the City of Chicago.    At all times that evening, Sandra Rosario

operated this vehicle in accordance with all applicable traffic statutes and

ordinances of the State of Illinois and City of Chicago.

      7.   On the evening of August 11, 2010, at approximately 9:00 P.M.,

defendants Magallon, Lopez, Bala, and O=Brien, who were dressed in plain

clothes and traveling in unmarked squad cars, stopped plaintiff. Plaintiff had

violated no law, and defendants had seen no evidence and possessed no

reasonable basis to believe that plaintiff had committed an offense, nor did

defendants have any justification or authority whatever for stopping plaintiff.

      8.   When plaintiff stepped from her automobile, in full cooperation with

the defendants Magallon, Lopez, Bala, and O=Brien, said defendants searched

her person and her automobile, with defendant Magallon placing his hands on




                                        3
     Case: 1:11-cv-00456 Document #: 1 Filed: 01/21/11 Page 4 of 12 PageID #:1




the body of plaintiff in a manner completely inappropriate and unreasonable

for a male police officer when dealing with a female subject.

      9.     At no time before or during this interrogation and search/fondling

of plaintiff did defendants uncover any evidence creating reasonable grounds

to believe that plaintiff had violated any laws or ordinances of the State of

Illinois or the City of Chicago.

      10.   Although the defendant officers had found no evidence of any

violation of law by plaintiff, they nonetheless placed her in custody, and

transported her to the Fourteenth District Station of the City of Chicago Police

Department.

      11.   At the Fourteenth District Station, defendant officers detained

plaintiff for further interrogation and a further search of her person, although

they still had seen no evidence or probable cause that plaintiff had committed

any violation of the law.

      12.   During the course of the interrogation of plaintiff at the Fourteenth

District Station by defendants Magallon and Lopez said defendants ordered a

further illegal search of plaintiff, in that at their direction plaintiff was subjected

to a strip search – she was taken into a room and told by a female police officer

to remove all of her clothes.      At that time, plaintiff was completing her

menstrual cycle and was required to remove her tampon.




                                           4
     Case: 1:11-cv-00456 Document #: 1 Filed: 01/21/11 Page 5 of 12 PageID #:1




      13.   This strip search was conducted without a search warrant, and

without any reasonable basis for these officers to believe that plaintiff had

secreted or concealed any contraband or weapons upon her person. At no time

before, during, or after this search did the defendant officers have probable

cause to conduct or request this search.

      14.   At no time before, during, or after this search did the Defendant

Officers have permission from the plaintiff to conduct this search.

      15.    While at the Fourteenth District Station defendants Magallon and

Lopez, assaulted and beat plaintiff at a time when plaintiff was under their

exclusive dominion and control, unarmed, and unable to resist defendants.

      16.   As a result of the assault by defendants, plaintiff suffered

contusions on her upper arms, right knee, and face.

      17.   Without probable cause or any justification whatever, defendants

Magallon, Lopez, Bala, and O=Brien agreed to and did falsely and maliciously

charge plaintiff with the following offense: possession of cocaine with intent to

deliver under the laws of the State of Illinois.

      18.   Because of defendant officers= malicious charges against plaintiff,

plaintiff was detained without cause until the following day, August 12, 2010.

      19.   By means of these wholly unfounded charges, defendant officers

directly caused plaintiff=s automobile to be impounded, thereby depriving the

plaintiff of the possession, use and enjoyment of her automobile for several



                                        5
     Case: 1:11-cv-00456 Document #: 1 Filed: 01/21/11 Page 6 of 12 PageID #:1




weeks, and causing plaintiff numerous trips to the Police Department and City

of Chicago Administrative hearing court in repeated attempts to regain her

own automobile.

      20.   On September 10, 2010 plaintiff was brought to trial before the

Honorable Mauricio Araujo, a Judge of the Circuit Court of Cook County, State

of Illinois, upon the charge of possession of cocaine with intent to deliver,

whereupon that charge was dismissed with a finding indicative of plaintiff=s

innocence, which disposition became a final discharge of plaintiff on said

charge.


                                   COUNT I
                   ['1983 Unlawful Arrest] Defendant Officers

      21. The Plaintiff adopts and incorporates paragraphs one through

twenty, above, as and for the allegations of this paragraph twenty-one.

      22. As described above, the defendant officers used excessive and

unreasonable force during the arrest of the plaintiff, an arrest which occurred

without probable cause.

      23. The misconduct was undertaken by the defendant officers under

color of law, within the course and scope of their employment, was objectively

unreasonable, took place with malice, and with willful indifference to the

plaintiff=s constitutional rights.




                                        6
     Case: 1:11-cv-00456 Document #: 1 Filed: 01/21/11 Page 7 of 12 PageID #:1




      24. As a direct and proximate result of the actions by the defendant

officers, the plaintiff was injured, suffered emotional anxiety, mental trauma,

humiliation, fear, stress, pain and suffering, and other damages.

      WHEREFORE, the plaintiff, Sandra Rosario, prays for judgment in her

favor and against the defendants, Rafael Magallon # 19170, Angeilly Lopez

#2768, Jason Bala #9112, William O Brien # 9564, Elaine Vabakos #11498, A.

Casey # 9541, W. Crawford #10770, and other Unknown Chicago Police

Officers, awarding compensatory damages, punitive damages, attorney fees,

and costs, as well as any other relief this Court deems just and appropriate.


                                   COUNT II
                ['1983 Failure to Intervene] Defendant Officers

      25. The Plaintiff adopts and incorporates paragraphs one through

twenty-four, above, as and for the allegations of this paragraph twenty-five.

      26. One or more of the defendant officers stood by and watched without

intervening to prevent the violence to which the plaintiff was subjected, as

referenced above. These officers had a reasonable opportunity to prevent the

harm referenced above had they been so inclined, but failed to do so.

      27. The misconduct was undertaken by the defendant officers under

color of law, within the course and scope of their employment, was objectively

unreasonable, took place with malice, and with willful indifference to the

plaintiff=s constitutional rights.



                                        7
     Case: 1:11-cv-00456 Document #: 1 Filed: 01/21/11 Page 8 of 12 PageID #:1




      28. The actions of the defendant officers violated the plaintiff=s rights as

guaranteed by the Fourth Amendment to the United States Constitution.

      29. As a direct and proximate result of the actions of the defendant

officers, the plaintiff was injured, suffered emotional anxiety, mental trauma,

humiliation, fear, stress, pain and suffering, and other damages.

      WHEREFORE, the plaintiff, Sandra Rosario, prays for judgment in her

favor and against the defendants, Rafael Magallon # 19170, Angeilly Lopez

#2768, Jason Bala #9112, William O Brien # 9564, Elaine Vabakos #11498, A.

Casey # 9541, W. Crawford #10770, and other Unknown Chicago Police

Officers, awarding compensatory damages, punitive damages, attorney fees,

and costs, as well as any other relief this Court deems just and appropriate.


                                   Count III
                    [State Law Battery Claim] All Defendants

      30. The Plaintiff adopts and incorporates paragraphs one through

twenty, above, as and for the allegations of this paragraph thirty.

      31. As described above, the defendant officers, employees of the City of

Chicago, intended to cause, and did cause, harmful and offensive contact of

the plaintiff during her arrest.

      32. The misconduct was undertaken by the defendant officers within the

course and scope of their employment as City of Chicago police officers, was

objectively unreasonable, took place with malice, and was willful and wanton.



                                        8
     Case: 1:11-cv-00456 Document #: 1 Filed: 01/21/11 Page 9 of 12 PageID #:1




      33.   Defendant City of Chicago is liable as principal for all torts

committed by its agents.

      34.   As a direct and proximate result of the acts of the defendant

officers, employees of the City of Chicago, plaintiff was injured, suffered

emotional anxiety, mental trauma, humiliation, fear, stress, pain and

suffering, and other damages.

      WHEREFORE, the plaintiff, Sandra Rosario, prays for judgment in her

favor and against all of the defendants, awarding compensatory damages,

punitive damages against the individual defendants, costs, as well as any other

relief this Court deems just and appropriate.


                                  Count IV
              [State Law Abuse of Process Claim] All Defendants

      35. The plaintiff adopts and incorporates paragraphs one through

twenty, above, as and for the allegations of this paragraph thirty-five.

      36. As described above, the defendant officers arrested the plaintiff,

used force against the plaintiff, and treated hers in the manner in which he was

treated not because the plaintiff was or had been violating the law, but in order

to punish the plaintiff and as retaliation.

      37. The misconduct was undertaken by the defendant officers within the

course and scope of their employment as City of Chicago police officers, was

objectively unreasonable, took place with malice, and was willful and wanton.



                                        9
    Case: 1:11-cv-00456 Document #: 1 Filed: 01/21/11 Page 10 of 12 PageID #:1




      38.   Defendant City of Chicago is liable as principal for all torts

committed by its agents.

      39.   As a direct and proximate result of the acts of the defendant

officers, employees of the City of Chicago, plaintiff was injured, suffered

emotional anxiety, mental trauma, humiliation, fear, stress, pain and

suffering, and other damages.

      WHEREFORE, the plaintiff, Sandra Rosario, prays for judgment in her

favor and against all of the defendants, awarding compensatory damages,

punitive damages against the individual defendants, costs, as well as any other

relief this Court deems just and appropriate.


                                   Count V
            [State Law Malicious Prosecution Claim] All Defendants

      40.    The plaintiff adopts and incorporates paragraphs one through

twenty and thirty-six through thirty-nine, above, as and for the allegations of

this paragraph forty.

      41.    The defendant officers alleged that plaintiff had violated the

laws of the State of Illinois, thereby commencing a criminal proceeding

against the plaintiff.

      42.    The defendant officers did so without probable cause.

      43.    The misconduct was undertaken by the defendant officers within

the course and scope of their employment as City of Chicago police officers,

                                        10
    Case: 1:11-cv-00456 Document #: 1 Filed: 01/21/11 Page 11 of 12 PageID #:1




was objectively unreasonable, took place with malice, and was willful and

wanton.

      44.   The underlying criminal charges were ultimately and finally

resolved in plaintiff’s favor.

      WHEREFORE, the plaintiff, Sandra Rosario, prays for judgment in her

favor and against all of the defendants, awarding compensatory damages,

punitive damages against the individual defendants, costs, as well as any other

relief this Court deems just and appropriate.


                                  Count VI
       [State Law Intentional Infliction of Emotional Distress Claim]
                              All Defendants

      45. The plaintiff adopts and incorporates paragraphs one through forty

-four, above, as and for the allegations of this paragraph forty-five.

      46. As described above, the defendant officers engaged in conduct that

was extreme and outrageous when they knew, or should have known, that

their actions would cause severe emotional distress to the plaintiff.

      47.   The misconduct was undertaken by the defendant officers within

the course and scope of their employment as City of Chicago police officers,

was objectively unreasonable, took place with malice, and was willful and

wanton.

      46. As a direct and proximate result of the acts of the defendant officers,

employees of the City of Chicago, plaintiff was injured, suffered emotional

                                        11
    Case: 1:11-cv-00456 Document #: 1 Filed: 01/21/11 Page 12 of 12 PageID #:1




anxiety, mental trauma, humiliation, fear, stress, pain and suffering, and other

damages.

      WHEREFORE, the plaintiff, Sandra Rosario, prays for judgment in her

favor and against all of the defendants, awarding compensatory damages,

punitive damages against the individual defendants, costs, as well as any other

relief this Court deems just and appropriate.

                               JURY DEMAND

The Plaintiff demands a trial by jury on all Counts.



                                     /s/ Mark F. Smolens
                                     Attorney for Plaintiff



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                                        12
